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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0990V
                                          UNPUBLISHED


    HOLLEY HARTLEY,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: October 20, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Guillain-Barre
                                                                Syndrome (GBS)
                         Respondent.


Brian Robert Arnold, Richardson, Texas, for Petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION1

       On July 10, 2019, Holley Hartley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barre syndrome (“GBS”) as a
result of receiving an influenza (“flu”) vaccine on November 1, 2016. Petition at 2-3;
Stipulation, filed at October 19, 2022, ¶¶ 1-4. Petitioner further alleges that she suffered
from her injury and the residual effects for more than six months. Petition at 4-5;
Stipulation at ¶4. Respondent denies that petitioner suffered from GBS within the Table
timeframe, and denies that the flu vaccine in fact caused her alleged GBS and residual
effects, or any other injury.” Stipulation at ¶ 6.

       Nevertheless, on October 19, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.


1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $290,000.00, in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
HOLLEY HARTLEY,                           )
                                           )
                  Petitioner,              )
                                           )  No. 19-990V (ECF)
v.                                        )   Chief Special Master Corcoran
                                          )
SECRETARY OF HEALTH                       )
AND HUMAN SERVICES,                       )
                                          )
                  Respondent.             )
__________________________________________)

                                          STIPULATION

       The parties hereby stipulate to the following matters:

       1.       Holley Hartley (“petitioner”) filed a petition for vaccine compensation under the

National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine

Program”). The petition seeks compensation for injuries allegedly sustained following

petitioner’s receipt of an influenza (“flu”) vaccine, which vaccine is contained in the Vaccine

Injury Table (the “Table”), 42 C.F.R. §100.3(a).

       2.       Petitioner received a flu vaccine on November 1, 2016.

       3.       The vaccine was administered within the United States.

       4.       Petitioner alleges that she sustained the first symptom or manifestation of onset of

the injury Guillain-Barré syndrome (“GBS”) within the time period set forth in the Table.

Petitioner further alleges that she experienced the residual effects of her GBS for more than six

months.

       5.       Petitioner represents that there has been no prior award or settlement of a civil

action for damages as a result of her condition.
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          6.       Respondent denies that petitioner suffered from GBS within the Table timeframe,

and denies that the flu vaccine in fact caused her alleged GBS and residual effects, or any other

injury.

          7.       Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

          8.       As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

                   A lump sum of $290,000.00 in the form of a check payable to petitioner,
                   Holley Hartley, which amount represents compensation for all damages
                   that would be available under 42 U.S.C. § 300aa-15(a).

          9.       As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

          10.      Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act, 42 U.S.C. § 1396

et seq.), or by entities that provide health services on a pre-paid basis.


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        11.     Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys’ fees and litigation costs, and past unreimbursed expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner, as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the Secretary of

Health and Human Services and the United States of America from any and all actions or causes

of action (including agreements, judgments, claims, damages, loss of services, expenses and all

demands of whatever kind or nature) that have been brought, could have been brought, or could

be timely brought in the Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq., on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to, or death of,

petitioner resulting from, or alleged to have resulted from, the flu vaccine administered on

November 1, 2016, as alleged by petitioner in a petition for vaccine compensation filed on or

about July 10, 2019, in the United States Court of Federal Claims as petition No. 19-990V.

        14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.     If the special master fails to issue a decision in complete conformity with the


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terms of this Stipulation, or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       16.     This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Vaccine Injury Act of 1986, as amended, except as

otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       17.     This Stipulation shall not be construed as an admission by the United States of

America or the Secretary of Health and Human Services that petitioner’s alleged GBS and

residual effects, or any other injury, were caused by the flu vaccine.

       18.     All rights and obligations of petitioner hereunder shall apply equally to

petitioner’s heirs, successors and/or assigns.

                                     END OF STIPULATION

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Respectfully submitted.

PETITIONER:




                                                             AUTHORIZED REPRESENTATIVE
                                                             OF THE ATTORNEY GENERAL:



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AUTHORIZED REPRESENTATIVE                                    ATTORNEY OF RECORD FOR
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AND HUMAN SERVICES:
George R. Grimes OiglUllyslgnedbyCieorg e R.
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Dated:     l~ } I 9 / UJl-L




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